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 UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,               )   CR. NO. 17-00101 LEK
                                         )
          Plaintiff,                     )   UNITED STATES’ RESPONSE TO
                                         )   DEFENDANT’S SEVENTH MOTION
    vs.                                  )   FOR ORDER TO SHOW CAUSE AND
                                         )   REQUEST FOR EXPEDITED
 ANTHONY T. WILLIAMS,                    )   HEARING; CERTIFICATE OF
                                         )   SERVICE
          Defendant.                     )
                                         )

                   UNITED STATES’ RESPONSE TO
            DEFENDANT’S SEVENTH MOTION FOR ORDER TO
          SHOW CAUSE AND REQUEST FOR EXPEDITED HEARING

       The government respectfully submits this brief in response to Defendant

 Anthony T. Williams’s (Defendant) Seventh Motion for Order to Show Cause and
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 Request for Expedited Hearing (7th OSC Motion). The defendant’s motion makes

 three unrelated requests: First, defendant objects to the decision by the Bureau of

 Prisons (BOP) Federal Detention Center, Honolulu (FDC) to move an e-discovery

 terminal from the law library on the second tier of the defendant’s housing unit to

 its main floor, and requests that the “the e-discovery computer [be] placed back in

 the room that was provided for that purpose. . . .” Declaration of Anthony

 Williams (Williams Decl.) in Support of the 7th OSC Mot. 4 at ¶ 30, ECF No. 418-

 2. Second, in response to the decision of the FDC to give each inmate possession

 of his own discovery disks, the defendant asks this Court to reconsider its July 25,

 2018 Order [ECF No. 297], which ensured the defendant a minimum of two hours

 of access to his discovery disks and the FDC e-discovery terminal per day. Id. 4 at

 ¶ 30. Third, the defendant “demands [this prosecution] to be moved from this

 district to another district where judges understand what fairness, equity,

 impartiality and prudence means regardless of how the[y] personally feel about a

 defendant.” Id. 4 at ¶ 32.

       In earlier filings, the defendant complained about the very conditions that

 the FDC’s recent changes have sought to address. In any event, the Court need not

 sort through the defendant’s ever-shifting demands: as with prior motions, the

 gravamen of the defendant’s motion is a request for court intervention into Bureau

 of Prisons (BOP) operations, this time with respect to the location of the housing


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 unit e-discovery terminal. Just as this Court has ruled earlier, the defendant must

 first follow the grievance procedures of the BOP before raising an issue to the

 Court’s attention. Order Denying (1) Motion for Order to Show Cause, and (2) Ex

 Parte Application and Motion for Funds to Purchase Legal Supplies at

 Government’s Expense 7, ECF No. 132 (“Williams needs to exhaust the

 administrative process regarding this issue before the Court is able to address it.”);

 Order Denying Defendant’s Sixth Motion for Order to Show Cause and Request

 for Expediting Hearing 2, ECF No. 389 (“Accordingly, because Defendant has not

 established that he has exhausted his administrative remedies, the Court DENIES

 the Motion.”). Because the defendant has failed to exhaust his administrative

 remedies, the motion should be denied. Moreover, the defendant is not entitled to

 reconsideration of this Court’s July 25, 2018 Order. Finally, this matter should not

 be transferred because the defendant continues to perceive a bias or prejudice on

 the part of the Court; this issue has been fully briefed and decided.

                                   BACKGROUND

       Prior to February 1, 2019, as noted in previous filings, the FDC had a policy

 in place whereby inmates in general population in Mr. Williams’s housing unit had

 access to seven computer terminals on the main floor of the housing unit, one of

 which was dedicated to LexisNexis legal research access. Declaration of

 AnnElizabeth Card in Support of Government’s Response to 4th OSC Motion


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 ¶¶ 11-15, ECF No. 292-1. Inmates also had access to an e-discovery terminal,

 which was located on the second-tier of the housing unit, one flight of stairs away

 from the other terminals. Id. Each inmate’s e-discovery was maintained by the

 FDC staff on compact disk (CD) format, and if an inmate wished to view e-

 discovery material, he would have to request the material from FDC staff. Id. ¶ 15.

         Recently, the FDC re-evaluated its policy in light of complaints from

 inmates, including the defendant. Exhibit A (Declaration of K.G. Olson (Olson

 Decl.) ¶¶ 3-4). After assessing the benefits and risks, and after consultation with

 other BOP facilities, the FDC adopted a new a policy to govern an inmate’s access

 to e-discovery. Id. Pursuant to the new policy, inmates maintain their own e-

 discovery CDs, the FDC staff will no longer do so. Id. The FDC also moved the

 e-discovery terminal from the law library on the second tier of the defendant’s

 housing unit down to the main housing unit floor. Exh. A (Olson Decl ¶ 5). The e-

 discovery terminal is situated in a carrel with dividers to ensure an inmate’s

 privacy. Id.

                                LEGAL ARGUMENT

    I.      The Defendant’s Claim Is Not Properly Before The Court

            A. The Defendant Has Failed To Exhaust His Administrative Remedies
               Pursuant To The BOP’s Grievance Procedures Relating To His Claim

         The 7th OSC Motion should be denied because the defendant failed to

 follow and complete the BOP’s grievance procedures. The 7th OSC Motion

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 impermissibly challenges the conditions of the defendant’s confinement in a

 manner similar to motions that this Court has rejected in the past. See March 7,

 2018 Order Denying (1) Motion for Order to Show Cause, and (2) Ex Parte

 Application and Motion for Funds to Purchase Legal Supplies. ECF No. 132. Just

 as this Court has ruled upon those motions, see id., the defendant must exhaust his

 administrative remedies with respect to challenges to the conditions of his

 confinement before approaching the Court.

       The defendant has failed to exhaust his administrative remedies relating to

 this matter. “The doctrine of exhaustion of administrative remedies is well

 established in the jurisprudence of administrative law.” Woodford v. Ngo, 468

 U.S. 81, 88 (2006) (quoting McKart v. United States, 395 U.S. 185, 193 (1969)).

 “The doctrine provides that no one is entitled to judicial relief for a supposed or

 threatened injury until the prescribed administrative remedy has been exhausted.”

 McKart, 395 U.S. at 193 (quoting Myers v. Bethlehem Shipbuilding Corp., 303

 U.S. 41, 50, 51 (1938)).

       Here, as with his previous motion for funds to pay for legal supplies, see

 ECF No. 132, the defendant has failed to show that he has exhausted the available

 administrative remedies with the BOP. To exhaust his administrative remedies, the

 defendant must proceed through the Administrative Remedy Program. See 28

 C.F.R. §§ 542.10-542.19; Bureau of Prisons Program Statement on Administrative


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 Remedy Program, Jan. 6, 2014 avail. at

 https://www.bop.gov/policy/progstat/1330_018.pdf.

       This Court previously outlined the BOP grievance process in its March 7,

 2018 Order at 4-5, ECF No. 132. Under the BOP grievance process, the inmate

 must first seek informal resolution of the issue of concern at his institution of

 confinement, the Federal Detention Center, Honolulu. Id. § 542.13. If no

 informal resolution is reached, the inmate must file a formal request (BP-9) with

 the Warden. Id. § 542.14. If the Warden denies the remedy, the inmate may

 appeal first to the Regional Director (BP-10), within 20 days of receiving the

 Warden’s response, and thereafter to the General Counsel in Washington, D.C.

 (BP-11), within 30 days of receiving the Regional Director’s response. Id.

 § 542.15. Administrative exhaustion does not take place until a final decision is

 received from the Office of General Counsel, or until a response is not forthcoming

 within the time allotted for reply. Id. §§ 542.15(a); 542.18.

       On January 31, 2019, after the defendant filed the instant motion, he

 submitted an administrative grievance with the FDC. Exh. A (Olson Decl. ¶ 6).

 The process has begun, but the FDC has not yet been completed. Both the

 defendant and his standby counsel, Lars Isaacson, Esq., have been on notice since

 March 7, 2018 that they are required to exhaust the defendant’s administrative

 remedies before seeking redress from this Court. ECF No. 132. Because the


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 defendant has failed to do so, the motion should be denied. Should the defendant

 wish to have any accommodation or relief from BOP’s rules, he must make this

 request to the BOP and, if denied, he must utilize the BOP grievance procedures,

 as described above.

          B. The Defendant’s Motion Complains About FDC
             Policy Changes That The Defendant Had Previously Sought

       In any event, the defendant’s motion is disingenuous; the FDC’s new e-

 discovery storage policy and the newly-located e-discovery computer does not

 restrict the defendant’s the ability to view his discovery. The FDC’s policy

 changes came about, in part, to respond to complaints about e-discovery access

 raised by inmates, including the defendant.

       As this Court will recall, the defendant complained about the FDC’s prior

 policies in his prior filings. In his November 29, 2017 Motion to Compel, the

 defendant complained that the LexisNexis research computer and the e-discovery

 terminal were kept on different floors of his housing unit, which required him “to

 leave the computer terminal and go down stairs to wait in line just to do legal

 research.” Motion to Compel 1, ECF No. 65. The new FDC policy consolidates

 the e-discovery terminal and the LexisNexis legal research terminal on the same

 floor, which addresses this concern. Exh. A (Olson Decl. ¶ 4).

       Second, the defendant filed a motion that argued that the failure by the FDC

 to give him 24 hour access to his e-discovery CDs amounted to a constitutional

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 violation. Exhibit A to Declaration of AnnElizabeth W. Card in Support of

 Government’s Response to 4th OSC Motion, (E-mail from Anthony Troy Williams

 to Unit Manager Liason, FDC, dated 6/22/2018) (“If you can’t understand that then

 let me explain it another way. I need my discs 7 days a week, 30 to 31 days a

 month, 365 days a year and 366 during leap year, this include[s] weekends,

 holidays . . . .”), ECF No. 292-2 at 3; Declaration of Counsel in Support of

 Defendant’s Fourth Motion for Order to Show Cause (4th OSC Motion) ¶¶ 6-9

 (“The denial of . . . Williams’ access to discovery is troubling and raises issues of

 due process and fair trial and is apparently a violation of Rule 16 of the Federal

 Rules of Criminal Procedure.”), ECF No. 287-1 at 3. The Court, Magistrate Judge

 Kurren, denied this motion in its July 25, 2018 Order in part because the FDC

 offered the defendant constitutionally adequate access to his discovery. ECF No.

 297. In any event, the new e-discovery policy effectively gives the defendant

 round-the-clock possession of his e-discovery disks, as he originally demanded.

 Exh. A (Olson Decl. ¶¶ 3-4).

       The defendant is apparently not one to take yes for an answer, and has filed

 the instant motion claiming that he is now being prejudiced by having the e-

 discovery terminal located closer to him, and with greater access to his e-discovery

 CDs. Should the defendant seriously wish to pursue this claim, he must first

 exhaust his administrative remedies.


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          C. The Court Should Not Reconsider Its
             October 3, 2018 Order Affirming The July 25, 2018 Order

       The defendant’s request that he “needs an order vacating Judge Kurren’s

 [July 25, 2018] order [ECF No. 297]” should be denied. This Court has now twice

 ruled upon the defendant’s underlying request, which pertains to access to his

 discovery disks.

       By way of background: on June 30, 2018, the defendant filed a Fourth

 Motion for Order to Show Cause (4th OSC Motion) arguing, among other things,

 that he was being denied access to the discovery in this case. Declaration of

 Counsel in Support of 4th OSC Motion ¶¶ 6-7, ECF No. 287-1. The government

 responded that defendant had constitutionally adequate access to his discovery

 disks, and included lengthy declarations from FDC staff and attached e-mails

 written by the defendant that contradicted his claim that he was being denied

 access to his discovery, but instead demonstrated that his actual frustration was that

 he was actually seeking 24-hour access to his discovery upon demand. Declaration

 of AnnElizabeth Card in Support of Government’s Response to 4th OSC Motion ¶

 19, Exhibit A at 3, 4, ECF No. 292-1. The Court, Magistrate Judge Barry M.

 Kurren, heard oral argument on the defendant’s motion and issued a written order

 on July 25, 2018 denying the motion but holding the government to its

 representations to the Court regarding the defendant’s access to discovery: in

 particular, the Court ordered that the BOP “is ordered to provide Defendant access

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 to the discovery disks from this prosecution, and make reasonable accommodations

 for Defendant to view the content of these disks, for two consecutive hours per

 day, at a minimum, for each day that Defendant requests access until Defendant’s

 trial.” July 25, 2018 Order 2, ECF No. 297.

       On August 3, 2018, the defendant immediately appealed this order to Judge

 Kobayashi, pursuant to Criminal Local Rule 57.3(a) of the Local Rules of Practice

 for the U.S. District Court for the District of Hawaii. Appeal of Magistrate Judge

 Decision, ECF No. 300. The government responded on August 21, 2019. ECF

 No. 304. On October 3, 2019, this Court denied the defendant’s appeal as

 meritless. October 3, 2018 Order 7, ECF No. 347.

       In sum, this matter has been decided by the Court twice. To the extent that

 this matter is to be treated as a motion for reconsideration of the Court’s October 3,

 2018 Order, see United States v. Martin, 226 F.3d 1042, 1047 n.7 (9th Cir. 2000)

 (recognizing motions for reconsideration in criminal cases), the defendant has

 identified no basis for such a motion. See Local Rule 60.1 of the Civil Local Rules

 of Practice for the District of Hawaii (setting forth standards for reconsideration);

 United States v. Hee, 2015 U.S. Dist. LEXIS 145406 *31 (D. Hawaii 2015)

 (recognizing that motions for reconsideration in criminal cases are governed by the

 rules governing equivalent motions in civil proceedings). The defendant has

 alleged no new material facts or intervening change in law, and has cited no


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 manifest error of law or fact. Crim.LR 60.1. The defendant’s renewed challenge

 to the July 25, 2018 Order should be denied.

           D. Transfer of This Prosecution Is Not Appropriate

       Finally, the defendant’s demand that this matter be “moved from this district

 to another district where judges understand what fairness, impartiality and

 prudence means” should be denied. Venue is proper here: a criminal prosecution

 must take place in the district where the offense was committed. U.S. Const. art.

 III, § 2 cl. 3 (“The Trial of all Crimes . . . shall be by Jury; and such Trial shall be

 held in the State where the said Crimes shall have been committed.”); Fed. R.

 Crim. Proc. 18 (“Unless a statute or these rules permit otherwise, the government

 must prosecute an offense in a district where the offense was committed.”). The

 defendant does not challenge venue upon the basis of the situs of the criminal act;

 rather, the defendant claims that the Court has been unfair and biased against him.

 The defendant has raised this claim in two motions for disqualification and it has

 been fully briefed and decided. Order Denying Motion for Disqualification of

 Judge Leslie Kobayashi, ECF No. 257; Order Denying Motion for Disqualification

 of Judge Kenneth Mansfield, ECF No. 321. As the defendant failed to demonstrate

 bias or prejudice before, he cannot re-litigate this issue on a transfer of venue

 motion. See, e.g., Jones v. City of Buffalo, 867 F.Supp. 1155, 1163 (W.D.N.Y.

 1994).


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                                  CONCLUSION

       For the reasons above, the government respectfully requests that the Court

 deny the Defendant’s 7th OSC Motion.

             DATED: February 8, 2019, at Honolulu, Hawaii.

                                              KENJI M. PRICE
                                              United States Attorney
                                              District of Hawaii


                                              By /s/ Gregg Paris Yates
                                                GREGG PARIS YATES
                                                Assistant U.S. Attorney




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                           CERTIFICATE OF SERVICE

              I hereby certify that, on the dates and by the methods of service noted

 below, a true and correct copy of the foregoing was served on the following by the

 method indicated on the date of filing:

 Served Electronically through CM/ECF:

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       Honolulu, HI 96820

              DATED: February 8, 2019, at Honolulu, Hawaii.


                                              /s/ Melena Malunao
                                              U.S. Attorney’s Office
                                              District of Hawaii
